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     Attorneys for Plaintiff
 6   KEVIN A. BERLIN
 7

 8
                             UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10

11
     KEVIN A. BERLIN, an individual, ) Case No. 14-CV-00434-JCS
12                                   )
               Plaintiff,            ) NOTICE OF SETTLEMENT
13
                                     )
     v.                              )
14
                                     )
15   TRUE NORTH AR, LLC, a Delaware )
     limited liability company and   )
16   DOES 1 through 20, inclusive,   )
                                     )
17             Defendants.           )
                                     )
18                                   )
                                     )
19                                   )
20         NOTICE IS HEREBY GIVEN that the parties have reached a
21   settlement in the above-captioned action.         The Plaintiff will
22   file a dismissal with prejudice pursuant to Federal
23   ///
24   ///
25   ///



     NOTICE OF SETTLEMENT                                                    Page 1
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 1   Rule of Civil Procedure 41(a) once the settlement is fully
 2   consummated.
 3   DATED:    July 18, 2014             DELTA LAW GROUP
 4                                             /s/ Jim G. Price
 5
                                         BY:_______________________________
 6
                                              JIM G. PRICE
                                              Attorneys for Plaintiff
 7                                            KEVIN A. BERLIN

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     NOTICE OF SETTLEMENT                                                     Page 2
